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                              UNITED STATES DISTRICT COURT
    9
                         CENTRAL DISTRICT OF CALIFORNIA
   10
                                   WESTERN DIVISION
   11
      SCOTT PECKERAR and SAMANTHA              Case No.: ED CV 18-2153-DMG (SPx)
   12 PECKERAR, on behalf of themselves
   13 and all others similarly situated,       ORDER RE STIPULATION OF
                                               DISMISSAL WITH PREJUDICE
   14                Plaintiffs,               [FRCP 41(a)(1)(A)(ii)] [117]
   15
                         v.
   16
        GENERAL MOTORS LLC,
   17
   18               Defendant.
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Case 5:18-cv-02153-DMG-SP Document 118 Filed 11/06/20 Page 2 of 2 Page ID #:1229




    1        Pursuant to the parties’ stipulation, and good cause appearing,
    2        IT IS HEREBY ORDERED THAT the above-captioned action is dismissed
    3 in its entirety, with prejudice, as to Plaintiffs’ individual claims pursuant to Federal
    4 Rule of Civil Procedure 41(a)(1)(A)(ii).
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        DATED: November 6, 2020               _____________________________
    7                                         DOLLY M. GEE
                                              UNITED STATES DISTRICT JUDGE
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